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B7 (Official Form 7) (12/07)



                                           UNITED STATES BANKRUPTCY COURT
                                                                  Southern District of New York

In re:     Pace Product Solutions, Inc.
           Debtor(s)                                                                                      Case No: _08-12666 (MG)_

                                            STATEMENT OF FINANCIAL AFFAIRS
           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both
spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent or
guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

            Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19 -
25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to any question, use and attach
a separate sheet properly identified with the case name, case number (if known), and the number of the question.

                                                                          DEFINITIONS

           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of the
following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a
limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of
this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or equity securities of a
corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.

    None             1. Income from employment or operation of business

                     State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the
                     debtor's business, including part-time activities either as an employee or in independent trade or business, from the
                     beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the two
                     years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on the basis
                     of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's
                     fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or
                     chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                     joint petition is not filed.)

                     AMOUNT                          SOURCE (if more than one)
                     $     0                         YTD Income from business (Business was operating at a loss)
                     $24,840                         2007 Income from business
                     $56,194                         2006 Income from business

         None        2. Income other than from employment or operation of business
           ⌧
                     State the amount of income received by the debtor other than from employment trade or profession, or operation of the
                     debtor's business during the two years immediately preceding the commencement of the case. Give particulars. If a joint
                     petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state
                     income of both spouses whether or not a joint petition is filed, unless the spouses are separated, and a joint petition is not
                     filed.)

                     AMOUNT                          SOURCE
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           3. Payments to creditors

           Complete a. or b., as appropriate, and c.
None
 ⌧                   a. Individual or joint debtors with primarily consumer debts: List all payments on loans, installment purchases of
           goods or services, and other debts, to any creditor made within 90 days immediately preceding the commencement of this
           case if the aggregate value of all property that constitutes or is affected by such transfer is not less than $600. Indicate with
           an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an
           alternative repayment schedule under a plan by an approved nnonprofit budgeting and creditor counseling agency. (Married
           debtors filing under chapter 12 or chapter 13 must state payments by either or both spouses whether or not a joint petition is
           filed, unless the spouses are separated, and a joint petition is not filed.)
                                                          DATES OF PAYMENTS                                           AMOUNT STILL
           NAME AND ADDRESS OF CREDITOR                                                 AMOUNT PAID                   OWING



None
                      b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
           within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
           constitutes or is affected by such transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk (*) any
           payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment
           schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under
           chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint petition
           is filed, unless the spouses are separated and a joint petition is not filed.)

            NAME AND ADDRESS OF CREDITOR           DATES OF PAYMENTS              AMOUNT PAID                   AMOUNT STILL OWING
            RELATIONSHIP TO DEBTOR

            None known. Debtor reserves right to amend once complete bank statements are obtained.
None
 ⌧                   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to
           or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include
           payments of either or both spouses whether or not a joint petition is filed, unless the spouses are separated, and a joint
           petition is not filed.)

             NAME AND ADDRESS OF CREDITOR          DATES OF PAYMENTS              AMOUNT PAID                   AMOUNT STILL OWING
             RELATIONSHIP TO DEBTOR




           4. Suits and administrative proceedings, executions, garnishments and attachments
None
                     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
           preceding the filing of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
           concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated, and a joint
           petition is not filed.)
             CAPTION OF SUIT AND                   NATURE OF                      COURT/AGENCY                  STATUS OR
             CASE NUMBER                           PROCEEDING                     AND LOCATION                  DISPOSITION

             Autopart International, Inc., vs.     Breach of Contract             Civil Court of the City of    Pending
             Flash Sales, Inc. d/b/a Pace                                         Yonkers, County of
             Product Solutions, Inc.; Index No.                                   Westchester
             2776/08

             Flash Sales, Inc. vs. Pace Product    Breach of Contract             Supreme Court of the          Judgment for Plaintiff
             Solutions, Inc., et al; Index No.                                    State of New York,
             3078/08                                                              County of Westchester

             Summa Capital Corp. vs. Pace          Breach of Contract             Supreme Court of the          Pending
             Product Solutions, Inc., et al;                                      State of New York,
             Index No. 5998/08                                                    County of Westchester
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            B and N Realty Holding Corp. vs.       Foreclosure Proceeding        Supreme Court of the          Pending
            122 Street Slash, Pace Product                                       State of New York,
            Solutions, Inc., et al; Index No.                                    County of Westchester
            3077/08

            Pace Product Solutions, Inc. vs. B     Breach of Contract and        Supreme Court of the          Pending
            and N Realty Holding Corp, et al;      Fraud                         State of New York,
            Index No. 100830/08                                                  County of New York

            Pace Auto v. Pace Product              Breach of Contract            Supreme Court of the          Judgment for Plaintiff
            Solutions, Inc.;                                                     State of New York,
            Index No. 117042/2005                                                County of New York

            Pace Product Solutions, Inc. v.        Breach of Contract            Supreme Court of the          Pending
            Flash Sales                                                          State of New York,
            Index No. 100830/2008                                                County of New York

            Pace Product Solutions, Inc. v.        Breach of Contract            Supreme Court of the          Pending
            Flash Sales                                                          State of New York,
            Index No. 11085/2008                                                 County of Westchester


None
 ⌧                  b. Describe all property that has been attached, garnished, or seized under any legal or equitable process within
           one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
           must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
           spouses are separated, and a joint petition is not filed.)
            NAME AND ADDRESS OF PERSON             DATE OF                         DESCRIPTION AND VALUE OF PROPERTY
            FOR WHOSE BENEFIT PROPERTY             SEIZURE
            WAS SEIZED




           5. Repossessions, foreclosures and returns
None
 ⌧                   List all property that has been repossessed by a creditor, sold at foreclosure sale, transferred through a deed in lieu
           of oreclosure or returned to a seller within one year immediately preceding the commencement of this case. (Married
           debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a
           joint petition is filed, unless the spouses are separated, and a joint petition is not filed.)
            NAME AND ADDRESS               DATE OF REPOSSESSION, FORECLOSURE, SALE                      DESCRIPTION AND VALUE OF
            OF CREDITOR OR SELLER          TRANSFER OR RETURN                                           PROPERTY




           6. Assignments and receiverships
None
 ⌧                   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding
           the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignments by
           either or both spouses whether or not a joint petition is filed, unless the spouses are separated, and a joint petition is not
           filed.)
            NAME AND ADDRESS OF ASSIGNEE           DATE OF ASSIGNMENT            TERMS OF ASSIGNMENT OR SETTLEMENT




None
 ⌧                  b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
           immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
           information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are
           separated, and a joint petition is not filed.)
            NAME AND ADDRESS OF         NAME, LOCATION OF COURT, CASE          DATE OF ORDER                 DESCRIPTION, VALUE OF
            CUSTODIAN                   TITLE AND NUMBER                                                     PROPERTY
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           7. Gifts
None
 ⌧                  List all gifts or charitable contributions made within one year immediately preceding the commencement of this
           case except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
           and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13
           must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless the spouses are
           separated and a joint petition is not filed.)
            NAME AND ADDRESS OF PERSON             RELATIONSHIP TO               DATE OF GIFT                  DESCRIPTION AND VALUE
            OR ORGANIZATION                        DEBTOR, IF ANY                                              OF GIFT




           8. Losses
None
 ⌧                   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the
           commencement of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
           must include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
           joint petition is not filed.)
            DESCRIPTION AND VALUE OF               DESCRIPTION OF CIRCUMSTANCES, AND IF LOSS WAS               DATE OF LOSS
            PROPERTY                               COVERED IN WHOLE OR IN PART BY INSURANCE, GIVE
                                                   PARTICULARS




           9. Payments related to debt counseling or bankruptcy
None
                    List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys,
           for consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
           within one year immediately preceding the commencement of this case.
            NAME AND ADDRESS                            DATE OF PAYMENT, NAME OF PAYOR,           AMOUNT OF MONEY, OR DESCRIPTION
            OF PAYEE                                    IF OTHER THAN DEBTOR                      AND VALUE OF PROPERTY

            Law Offices of Daniel M. Katzner, PC        07/09/2008                                $5,000 Retainer
            1025 Longwood Avenue
            Bronx, NY 10459

           10. Other transfers
None
 ⌧                   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs
           of the debtor, transferred either absolutely or as security within two years immediately preceding the commencement of
           this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or
           not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

            NAME AND RELATIONSHIP OF                                                      DESCRIBE PROPERTY TRANSFERRED
            TRANSFEREE; RELATIONSHIP TO                 DATE                              AND VALUE RECEIVED
            DEBTOR




           b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a
           self-settled trust or similar device of which the debtor is a beneficiary.
None
 ⌧
            NAME OF TRUST OR OTHER                 DATE(S) OF TRANSFER(S)                  AMOUNT OF MONEY OR DESCRIPTION AND
            DEVICE                                                                         VALUE OF PROPERTY OR DEBTOR’S INTEREST
                                                                                           IN PROPERTY
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           11. Closed financial accounts
None
 ⌧                   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which
           were closed, sold or otherwise transferred within one year immediately preceding the commencement of this case. Include
           checking, saving, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts held in
           banks, credit unions, pension funds, cooperatives, associations and brokerage houses and other financial institutions.
           (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or instruments held by
           either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
           filed.)
            NAME AND ADDRESS OF                     TYPE OF ACCOUNT; LAST FOUR DIGITS OF              AMOUNT AND DATE OF SALE OR
            INSTITUTION                             ACCOUNT NUMBER, AND AMOUNT OF FINAL               CLOSING
                                                    BALANCE




           12. Safe deposit boxes
None
 ⌧                  List each safe deposit or other box or depository in which the debtor has or had securities, cash or other valuables
           within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter
           13 must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are
           separated and a joint petition is not filed.)
            NAME AND ADDRESS OF BANK             NAMES AND ADDRESSES OF          DESCRIPTION OF                DATE OF TRANSFER OR
            OR OTHER INSTITUTION                 THOSE WITH ACCESS TO            CONTENTS                      SURRENDER, IF ANY
                                                 BOX OR DEPOSITORY




           13. Setoffs
None
 ⌧                    List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days
           preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
           concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition
           is not filed.)
            NAME AND ADDRESS OF CREDITOR                     DATE OF SETOFF                      AMOUNT OF SETOFF




           14. Property held for another person
None
 ⌧         List all property owned by another person that the debtor holds or controls.
                                                                                                               LOCATION OF PROPERTY
            NAME AND ADDRESS OF OWNER              DESCRIPTION AND VALUE OF PROPERTY




           15. Prior address of debtor
None
                     If the debtor has moved within three years immediately preceding the commencement of this case, list all
           premises which the debtor occupied during that period and vacated prior to the commencement of this case. If a joint
           petition is filed, report also any separate address of either spouse.
            ADDRESS                                NAME USED                     DATES OF OCCUPANCY
                         th
            548 West 48 Street                     Pace Products Solutions,      05/2005 to 12/2007
            New York, New York                     Inc.



           16. Spouses and Former Spouses
None
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⌧                   If the debtor resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
           California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years
           immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of any former spouse
           who resides or resided with the debtor in the community property state.
            NAME




           17. Environmental Information

           For the purposes of this question, the following definitions apply:

                    An “Environmental Law” means any federal, state or local statute or regulation regulating pollution,
           contamination, releases of hazardous or toxic substances, wastes or materials into the air, land, soil, surface water,
           groundwater, or other medium, including but not limited to, statutes or regulations regulating the cleanup of these
           substances, wastes, or material.

                    A “Site” means any location, facility, or property as defined by any Environmental Law, whether or not presently
           or formerly owned or operated by the debtor, including but not limited to, disposal sites.

                   A ”Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance,
           hazardous material, pollutant, or contaminant or similar term under an Environmental Law.
None
 ⌧                    a. List the name and address of every site for which the debtor has received notice in writing by a governmental
           unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit,
           the date of the notice, and , if known, the Environmental Law.
            SITE NAME AND ADDRESS        NAME AND ADDRESS OF                     DATE OF NOTICE               ENVIRONMENTAL LAW
                                         GOVERNMENTAL UNIT




None
 ⌧                    b. List the name and address of every site for which the debtor has received notice in writing by a governmental
           unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit,
           the date of the notice, and, if known, the Environmental Law.
            SITE NAME AND ADDRESS        NAME AND ADDRESS OF                     DATE OF NOTICE               ENVIRONMENTAL LAW
                                         GOVERNMENTAL UNIT




None
 ⌧                   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law
           with respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a
           party to the proceeding, and the docket number.
            NAME AND ADDRESS OF          DOCKET NUMBER                           STATUS OR DISPOSITION
            GOVERNMENTAL UNIT




           18. Nature, location and name of business

                     a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the business,
           and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
           executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession or other
           activity either full-time or part-time within six years immediately preceding the commencement of this case, or in which
           the debtor owned 5 percent or more of the voting or equity securities within the six years immediately preceding the
           commencement of this case.

                    If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the business,
           and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting
           or equity securities, within the six years immediately preceding the commencement of this case.
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                        If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses,
               and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting
               or equity securities, within the six years immediately preceding the commencement of this case.

None

             NAME         LAST FOUR DIGITS OF         ADDRESS             NATURE OF BUSINESS                  BEGINNING AND ENDING
                          SOC. SEC NO./ COMPLETE                                                              DATES
                          EIN OR OTHER
                          TAXPAYER
                          I.D. NUMBER


       Worldwide Flash                          122 School Street        Auto-parts Supplier                    04/22/2008 to 07/10/2008
       Auto Parts, Inc.                         Yonkers, NY

None
 ⌧                       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
               U.S.C. ' 101.
                 NAME                         ADDRESS




               The following questions [numbers 19 - 25] are to be completed by every debtor that is a corporation or partnership and
               by any individual debtor who is or has been, within six years immediately preceding the commencement of this case, any
               of the following: an officer, director, managing executive, or owner of more than 5 percent of the voting securities of a
               corporation, a partner, other than a limited partner, of a partnership; a sole proprietor, or otherwise self-employed.

               (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business,
               as defined above, within six years immediately preceding the commencement of this case. A debtor who has not been in
               business within those six years should go directly to the signature page.)

               19. Books, records, and financial statements
None
               a. List all bookkeepers and accountants who within the two years immediately preceding the filing of this bankruptcy
               case, kept or supervised the keeping of books of account and records of the debtor.


                                  NAME AND ADDRESS                      DATE SERVICES
                                                                        RENDERED
                                  Mark Goldberg                         Various dates from 2006 to
                                  97 Froehlich Farm Blvd.,              present
                                  Woodbury, NY 11797

                                  Boaz Bagbag                           Various dates from 2006 to
                                  304 East 78th St., Apt. 5F            present
                                  New York, NY 10021


None
               b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have
               audited the books of account and record, or prepared a financial statement of the debtor.

                                                                        ADDRESS                                    DATES SERVICES
                                  NAME                                                                             RENDERED
                                  Mark Goldberg                         97 Froehlich Farm Blvd.,                   Various dates from 2006 to
                                                                        Woodbury, NY 11797                         present


None
               c. List all firms or individuals who at the time of commencement of this case were in possession of the books of account
               or records of the debtor. If any of the books of account and records are not available, explain.
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                                   NAME                                ADDRESS
                                   Mark Goldberg                       97 Froehlich Farm Blvd.,
                                                                       Woodbury, NY 11797

                                   Jason Levine, Esq.                  419 Park Avenue South
                                   (some legal records)                New York, NY 10016

                                   Boaz Bagbag                         304 East 78th St., Apt. 5F
                                   (no longer in possession of         New York, NY 10021
                                   records as specified below)

                                   Togut, Segal & Segal                One Penn Plaza
                                   (Ch. 7 Trustee in control of        New York, NY 10119
                                   books and records of business
                                   pursuant to Court Order)


None
 ⌧              d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom a financial
                statement was issued within the two years immediately preceding the commencement of this case by the debtor.
                                   NAME AND ADDRESS                    DATE ISSUED




                20. Inventories
None
                a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of
                each inventory, and the dollar amount and basis of each inventory.
                                                                                                DOLLAR AMOUNT OF INVENTORY (Specify
                 DATE OF INVENTORY            INVENTORY SUPERVISOR                              cost, market, or other basis)

                 07/01/2008                 Boaz Bagbag                                         $1,620,543 (Cost Basis)
                 07/10/2008                 Boaz Bagbag                                         $1,609,024 (Cost Basis)
                 Various dates, inventory kept
                 on continuously running basis

None
                b. List the name and address of the person having possession of the records of each of the two inventories reported in a.,
                above.
                                   DATE OF INVENTORY                                            NAME AND ADDRESSES OF
                                                                                                CUSTODIAN
                                                                                                OF INVENTORY RECORDS
                                   07/01/2008                                                   Boaz Bagbag
                                                                                                304 East 78th St., Apt. 5F
                                                                                                New York, NY 10021

                                   07/10/2008                                                   Boaz Bagbag
                                                                                                304 East 78th St., Apt. 5F
                                                                                                New York, NY 10021


* Boaz Bagbag maintained possession of inventory records until ordered by the Court to turn them over to the Chapter 7 Trustee.
These records are now under the control and in the possession of the Chapter 7 Trustee, Togut, Segal and Segal, located at One
Penn Plaza, New York, NY, and/or the secured creditor, Summa Capital Corp.



                21. Current Partners, Officers, Directors and Shareholders
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None
 ⌧             a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
                                  NAME AND ADDRESS                    NATURE OF INTEREST                   PERCENTAGE OF INTEREST



None
               b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or
               indirectly owns, controls, or holds, 5 percent or more of the voting or equity securities of the corporation.
                                                                      NATURE AND PERCENTAGE OF STOCK OWNERSHIP
                 NAME AND ADDRESS                     TITLE

               Boaz Bagbag                           President /      66.67%
               304 East 78th St., Apt. 5F            Director /
               New York, NY 10021                    Shareholder

              Asher Alcobi                           Shareholder      33.33%*
              250 East 65th Street
              New York, NY 10021

*Debtor previously listed different percentages on his Rule 2017 Affidavit based on using Schedule K-1 of the Debtor’s 2007
income tax return and the failure of either shareholder to contest the validity of that percentage at the time of filing.



               22. Former partners, officers, directors, and shareholders
None
 ⌧             a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
               preceding the commencement of this case.
                                  NAME                                ADDRESS                              DATE OF WITHDRAWAL




None
 ⌧             b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated within
               one year immediately preceding the commencement of this case.
                                  NAME AND ADDRESS                    TITLE                                DATE OF TERMINATION




               23. Withdrawals from a partnership or distributions by a corporation
None
 ⌧             If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including
               compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one
               year immediately preceding the commencement of this case.
                NAME AND ADDRESS OF RECIPIENT,                 DATE AND PURPOSE                       AMOUNT OF MONEY OR
                RELATIONSHIP TO DEBTOR                         OF WITHDRAWAL                          DESCRIPTION
                                                                                                      AND VALUE OF PROPERTY




               24. Tax Consolidation Group
None
 ⌧             If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any
               consolidated group for tax purposes of which the debtor has been a member at any time within the six year period
               immediately preceding the commencement of the case.
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                   NAME OF PARENT CORPORATION                              TAXPAYER IDENTIFICATION NUMBER




                  25. Pension Funds
None
 ⌧                If the debtor is not an individual, list the name and federal taxpayer identification number of any pension number to
                  which the debtor, as an employer, has been responsibe for contributing at any time within the six-year period
                  immediately preceding the commencement of the case.
 NAME OF PENSION FUND                               TAXPAYER IDENTIFICATION NUMBER


                                                                 ******
[To be completed by individual or individual and spouse]

                  I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and
                  any attachments thereto and that they are true and correct.


Date:                                                           Signature of       /s/
                                                                Debtor            /S


Date:                                                           Signature of       /s/
                                                                Joint Debtor      /S/
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §152 and 3571.

***************
[To be completed on behalf of a partnership or corporation]

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
thereto, and that they are true to the best of my knowledge, information, and belief.



Date: 09/15/2008                                       /s/ Boaz Bagbag
                                                       Signature

                                                      Boaz Bagbag, President
                                                      Print Name and Title
[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]

                                                     ___ Continuation sheets attached
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. '152 and 3571.



                                                              Publisher's Note:

                    The "Declaration and Signature of Non-attorney Bankruptcy Petition Preparer" (see 11 U.S.C. 110)
                           which is required to be signed by a non-attorney bankruptcy petition preparer here,
              has been OMITTED because this product is intended to be used by non-attorney bankruptcy petition preparers.
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